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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
AAS/RMP                                            271 Cadman Plaza East
F. #2021R00600                                     Brooklyn, New York 11201



                                                   January 13, 2025
By Email and ECF

Kenneth Abell
Jarrod L. Schaeffer
Abell Eskew Landau LLP
256 Fifth Avenue, 5th Floor
New York, NY 10001

                Re:   United States v. Sun, et. al.
                      Criminal Docket No. 24-CR-346 (BMC)

Dear Counsel:

              This letter will be accompanied by a link, sent by separate e-mail, to the secure
download of certain discovery materials produced pursuant to Rule 16 of the Federal Rules
of Criminal Procedure. The government renews its request for reciprocal discovery from the
defendants.

               The following documents were obtained by the government during the course
of the investigation:

 Bates No.                                      Description of Item
 EDNY_049976-EDNY_050037                        Records from Cathay Bank
 EDNY_050038-EDNY_050105                        Records from East West Bank
                                                Handwritten records from the Entity
                                                Identified in the Indictment as the “Wine
 EDNY_050106-EDNY_050113                        Store”
                                                Responsive Report for one iPhone with red
                                                case (IMEI 358790736362249), collected
 EDNY_050114                                    from Sun/Hu Residence
                                                Associated translations of Responsive
                                                Report for one iPhone with red case (IMEI
                                                358790736362249), collected from Sun/Hu
 EDNY_050115                                    Residence, produced as EDNY_050114
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 Bates No.                                       Description of Item
                                                 Images and video of chats associated with
 EDNY_050116-EDNY_050120                         Tingfeng “Lewis” Ng


              You may examine the physical evidence discoverable under Rule 16,
including original documents and items, by calling us to arrange a mutually convenient time.

                                                   Very truly yours,

                                                   BREON PEACE
                                                   United States Attorney

                                          By:       /s/ Alexander A. Solomon
                                                   Alexander A. Solomon
                                                   Robert M. Pollack
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000




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